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                         IN THE UNITED                DISTRICT COURT                           ': ) .   >   ...
                        FOR THE                               OF ILLINOIS



       In Re: Petittom Sox Retroactive
       Application of Amendment to
       Sentence8 Previously Impocled for
       Certain Cmck Cocline Offenses           ,               No.    102
       Heradon. Chid Judge:

                   The United States Sentencing Commission (USSC)has reduced
      somewhat the longstanding disparity between sentences recommended by it for
      powder cocalne and crack cocaine m the advisory sentencing guidelines. The
      prospective effective date was Novdber 1. 2007. In the exercise of its lawful
      authorlty, the Commission decided to make its advisoryguidelinesfor these offenses,
1     under certain circumstances upon thp appropriate flndlngs of the presiding judge.
      retroactlve. However, the effective date of this retroactive appllcation is not until
      March 3,2008.Consequently. the Cuurt cannot act on any petitions requesUng a
      reduction in sentence prior to that date.

                     This Court, en banc. has Qetermlned that any petitions nled prior to that
       date wlll be stayed until March 3,2004However, regardless of that stay, the Federal
       Public Defenders Omce IFPD) is herkby designated to represent each defendant
       (petitioner)who flles such apetition orpotion, by whatever nomenclature thelitigant
       places on the document The PubUc Defenders OMce shall thereupon dedde
       specificallywhich attorneywithin the m c e shall individually be assigned whlch flles.
       Should the FPD determine there is a konfllct for that particular defendant. it shall
       enlist the FPD of the Eastern District of Missouri for representation ofthat defendant
       through the interomce agreement it hab worked out wlth that once for that purpose.
       If the FPD plans to file an amended p(etltlon/motion for reduction, it may do so on
       March 3. 2008.but it shall provide cdurtesy copies to the U.S.Attorney's office on
       February 27. 2008.

                    The U.S. Attorney's 0mcd is not required to file a response to any such
      filing(petition or motion) so filed by +e defendant seeking a reduction untll March
      10.2008. Prior to that date, the Co* in concert with the U.S. Attorney's offlce and
      the FPD wlll work together to determixkc the procedural and loglstlcal issues relative
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         to the handling of such cases. The UGSC has identified 27 defendants who will be
t   ;    eligible for immediate reIease, lf the hresidingjudge so determines, in March, with
         another 25 wlthin the first year aftp the amendment. Priority in sequence of
         handling will be accorded those first a7 who are potentially eliglble immediately and
         the next 25 thereafter. It is noted thkt the U.S.Attorney's omce and the FPD have
         consented, in general principle, to rstillzing video conferencing equipment when
         possible.
                       The clerks office is dlrectv to implement this order by entering the FPD
         as attorney of record in each case relevant to the issues discussed in Ulis order.
         sending a copy of this order to the dekndant, petitioner, movant. litigant who seeks
         to have his sentence reduced pursuht to the USSC amendment and who files his
         moving document prior to March 3, BOOS, and to send copies of this order to the
         FPD, U.S. Attorney and posting it on the DisMct Court's website.


               IT IS SO ORDERED.

               Signed this 19th day of December, 2007.



                                                       C h i d Judge
                                                       United Statem District Court
